78 F.3d 591
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.ALLSTATE INSURANCE COMPANY, an Illinois Corporation,Plaintiff-Appellee,v.Gaylyn LI, aka Gaylyn Li-Ma;  Michael A. Stephens, akaMichael A. Cunningham, Defendants-Appellants.
    No. 94-17189.
    United States Court of Appeals, Ninth Circuit.
    Submitted Feb. 27, 1996.*Decided March 4, 1996.
    
      Before:  PREGERSON, CANBY, and HAWKINS, Circuit Judges.
      MEMORANDUM**
      Gaylyn Li and Michael Stephens appeal the district court's summary judgment in favor of Allstate Insurance Company in Allstate's diversity action seeking a declaratory judgment that Allstate was not required to defend and indemnify Li and Stephens in an underlying state court action.   Federal "[c]ourts should generally decline to assert jurisdiction in insurance coverage and other declaratory relief actions presenting only issues of state law during the pendency of parallel proceedings in state court."  American National Fire Insurance Co. v. Hungerford, 53 F.3d 1012, 1019 (9th Cir.1995) (citation and internal quotation marks omitted).   We conclude that there are no "circumstances present to warrant an exception to the general rule that the action belongs instate rather than federal court."  See Employers Reinsurance Corp. v. Karussos, 65 F.3d 796, 799 (9th Cir.1995) (citation and internal quotation marks omitted).   We therefore vacate the district court's grant of summary judgment and remand with instructions to dismiss Allstate's complaint.
      VACATED AND REMANDED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.   Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    